







						

	



				



NUMBERS 13-06-232-CR

                COURT OF APPEALS


THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


COREY DALE LIPPS,								Appellant,


v.


THE STATE OF TEXAS,						         Appellee.

                                                                                                                                      
				

On appeal from the 51st District Court of Tom Green County, Texas

                                                                                                                      


MEMORANDUM OPINION


Before Justices Yañez, Rodriguez, and Garza 


Memorandum Opinion by Justice Garza


	


	 Appellant, Corey Dale Lipps, appeals from his plea of "guilty" to sexual assault of
a child.  See Tex. Pen. Code Ann. § 22.011(a)(2) (Vernon Supp. 2006). (1)  The court
sentenced appellant to seventeen years' imprisonment.  We affirm.

I.  Anders Brief


	Appellant's counsel has filed an Anders brief with this Court, in which he states that
his review of the record "results in an absence of finding any meritorious issues to be
advanced in good faith on appeal."  See Anders v. California, 386 U.S. 738, 744 (1967). 
Counsel's brief further discusses three "conceivable issues" but nonetheless concludes that
the issues lack merit and any appeal in this case would be frivolous.  See id.  The brief
meets the requirements of Anders as it presents a professional evaluation showing why
there are no arguable grounds for advancing an appeal.  See Stafford v. State, 813 S.W.2d
503, 510 n.3 (Tex. Crim. App. 1991) (en banc).  In compliance with High v. State, 573
S.W.2d 807, 813 (Tex. Crim. App. 1978), counsel has carefully discussed why, under
controlling authority, there are no errors in the trial court's judgment.  Counsel has informed
this Court that he has (1) examined the record and has found no arguable grounds to
advance on appeal, (2) served a copy of the brief on appellant, and (3) informed appellant
of his right to review the record and to file a pro se brief.  See Anders, 386 U.S. at 744; see
also Stafford, 813 S.W.2d at 509-10.  More than thirty days have passed and no pro se brief
has been filed. 

II.  Independent Review


	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous.  Penson v. Ohio, 488 U.S.
75, 80 (1988).  We have reviewed the record and find that the appeal is wholly frivolous. 
See Bledsoe v. State, 178 S.W.3d 824, 826 (Tex. Crim. App. 2005); Stafford, 813 S.W.2d
at 509.  Accordingly, we affirm the judgment of the trial court.


III.  Motion to Withdraw


	In accordance with Anders, appellant's attorney has asked permission to withdraw
as counsel for appellant.  See Anders, 386 U.S. at 744.  We grant his motion to withdraw. 
We further order counsel to notify appellant of the disposition of this appeal and the
availability of discretionary review.  See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim.
App. 1997) (per curiam). 


	


							_________________________

							DORI CONTRERAS GARZA,

							Justice


Do not publish.				

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and 

filed this the 28th day of June, 2007.


		

1. Appellant pleaded guilty without the benefit of a plea bargain.

